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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                  CRIMINAL CASE NO.
                                                    1:23-MJ-00213-GMH-1
WILLIAM FREDERICK BEALS


                  NOTICE OF FILING LEAVE OF ABSENCE

      Rebecca Shepard of the Federal Defender Program, Inc. herein files this notice

of filing leave of absence. I respectfully request that the Court not schedule any

court appearances for the following dates. Your consideration is greatly appreciated.

      1. September 18, 2023, through and including September 22, 2023
      2. December 21, 2023, through and including December 28, 2023


      Dated: This 7th day of September, 2023.

                                       Respectfully Submitted,

                                       /s/ Rebecca Shepard
                                       Rebecca Shepard
                                       Georgia Bar No. 780692
                                       Attorney for Mr. Beals

Federal Defender Program, Inc.
Centennial Tower, Suite 1500
Atlanta, Georgia 30303
(404) 688-7530; Fax (404) 688-0768
Rebecca_Shepard@fd.org
        Case 1:23-mj-00213-GMH Document 9 Filed 09/07/23 Page 2 of 2




                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Notice of Filing Leave of Absence has

been formatted in Times New Roman 14 pt., in accordance with Local Rule 5.1B,

and was electronically filed this day with the Clerk of Court using the CM/ECF

system which will automatically send email notification of such filing to the

following counsel of record:

                         Cytheria D. Jernigan, Esq.
                         Assistant United States Attorney
                         U.S. Attorney’s Office
                         601 D Street, N.W.
                         Washington, DC 20004

      Dated: This 7th day of September, 2023.


                                      /s/ Rebecca Shepard
                                      Rebecca Shepard
                                      Attorney for Mr. Beals

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Centennial Tower, Suite 1500
Atlanta, Georgia 30303
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